4:11-cr-03087-JMG-CRZ     Doc # 330    Filed: 01/07/16   Page 1 of 1 - Page ID # 2719




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:11CR3087
                                        )
             v.                         )
                                        )
GUY E. ALLEN,                           )                 JUDGMENT
                                        )
                   Defendant.           )
                                        )


      IT IS ORDERED that judgment is entered for the United States of America and
against Defendant Allen providing that he shall take nothing and the Motion to Vacate
under 28 U.S.C. § 2255 (filing no. 316) is denied with prejudice. The undersigned
does not issue a certificate of appealability.

      DATED this 7th day of January, 2016.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
